            Bowles&Johnson
                                                                 June 11, 2021


  By Email

  Hon. Paul G. Gardephe
  United States District Judge
  Southern District of New York
  40 Foley Square
  New York, NY 10007

  Re:    Denson v. Donald J. Trump for President, Inc., No. 20 Civ. 4737 (S.D.N.Y.)
         Motion to Intervene by Manigault Newman

  Dear Judge Gardephe:

         We represent Lead Plaintiff Jessica Denson and the putative plaintiff class in the above-
  captioned matter, and we write in brief response to the motion to intervene by Omarosa
  Manigault Newman (“Intervenor”) filed with the Court yesterday. See ECF Nos. 66–67-5.

          As an initial matter, we wish the Court to know that Plaintiffs were not aware of
  Intervenor’s intention to file the instant motion, and therefore had no opportunity to inform the
  Court in advance. Moreover, while Plaintiffs take no formal position on the motion by a member
  of the putative class, we respectfully note that the proposed intervention is likely inefficient and
  unnecessary for several reasons.

          First, Plaintiffs’ goal has been, and continues to be, to bring this matter to an expeditious
  conclusion. As noted in Plaintiffs’ prior briefs, that conclusion is near at hand – all that remains
  of the case is to resolve the issues of class certification and declaratory and injunctive relief for
  the class. Addition of an intervenor to the case at this point will likely delay the resolution of this
  case.

          Second, there does not appear to be any need for this intervention. As a member of the
  putative class, Intervenor would be entitled to the same relief as the other members of the class:
  declaratory and injunctive relief foreclosing the Campaign from enforcing the non-disclosure and
  non-discrimination provisions of the Employment Contract, which is precisely the relief that
  Intervenor seeks in her proposed complaint.

          Third, Intervenor makes no allegation that counsel for Lead Plaintiff Denson has not or
  will not continue to adequately represent Intervenor’s interests in this matter, and counsel will
  continue to work to protect all class members interests.

          All that said, and regardless of the merits of Intervenor’s motion, the mere fact of its
  filing and the facts detailed therein provide yet more evidence that the Campaign is aggressively
  enforcing the invalid Employment Agreement against other former Campaign workers and

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supports Plaintiffs’ position that class certification and equitable relief is needed expeditiously.
However, Plaintiffs believe that appropriate relief for all class members – including Intervenor –
can be more readily obtained by hewing to the current procedural posture of the case rather than
by introducing the unnecessary complexity attendant to allowing new parties to join at this stage.
Moreover, to the extent Intervenor is correct in suggesting that the Campaign is in the process of
“winding up” its affairs, the need for speedy resolution of the few remaining issues in this case is
all the more acute.

                              Respectfully submitted,



                              David K. Bowles
                              Bowles & Johnson PLLC




David K. Bowles                              Page 2 of 2                        Hon. Paul G. Gardephe
                                            June 11, 2021
